                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


GLENN BURTON, JR.,
    Plaintiff,

       v.                                               Case No. 07-CV-0303

AMERICAN CYANAMID et al.,
    Defendants;

RAVON OWENS,
    Plaintiff,

       v.                                               Case No. 07-CV-0441

AMERICAN CYANAMID et al.,
    Defendants;

CESAR SIFUENTES,
    Plaintiff,

       v.                                               Case No. 10-CV-0075

AMERICAN CYANAMID et al.,
    Defendants.



                                DECISION AND ORDER

       These cases come before me on plaintiffs’ motion for summary judgment on the

question whether defendant Armstrong Containers, Inc. (“Armstrong”) is successor-in-

interest to the John R. MacGregor Lead Company (“MacGregor”). In addition, plaintiffs

allege that Armstrong filed a brief opposing plaintiffs’ motion while withholding certain

evidence probative of the motion’s merits, in violation of Fed.R.Civ.P. 11(b)(4). Plaintiffs

request that I consider sanctions against Armstrong for this alleged violation under my




                                                1

        Case 2:07-cv-00303-LA Filed 11/02/18 Page 1 of 12 Document 1078
Fed.R.Civ.P. 11(c)(3) authority. (E.g., No. 07-CV-0303, ECF No. 1034). I will address

plaintiffs’ request in this decision and order.

                                       I.     BACKGROUND

       The briefing of this successorship issue requires some unpacking. In their initial

motion for summary judgment, plaintiffs presented this theory of successorship: In June

of 1971, MacGregor changed its name to LMC, Inc. The following December of 1971,

Armstrong Chemcon and LMC, Inc. merged, and the surviving corporation was

Armstrong Chemcon, a Delaware Corporation. Plaintiffs argue that, because this merger

did not make any explicit provision or arrangement as to LMC’s liabilities, Armstrong

Chemcon as the surviving business entity was subject to those liabilities under both

Wisconsin and Delaware law. Then, in 1975, Armstrong Chemcon changed its name to

Armstrong Containers, Inc, a Delaware corporation. Plaintiffs assumed that this

Armstrong Containers, Inc. was the same entity as the defendant Armstrong Containers,

Inc. in the present lawsuit, and concluded that therefore the defendant Armstrong

Containers is answerable for the liabilities incurred by MacGregor Lead.

       Armstrong filed a response brief, in which it stated that it did not dispute “the

general proposition that the surviving entity resulting from a merger may succeed to the

liabilities of the pre-merger entities in the absence of an express arrangement for those

liabilities.” (No. 07-CV-0303, ECF No. 832 at 6-7). Armstrong also stated that it did not

dispute (1) that MacGregor changed its name to LMC in 1971; (2) that LMC merged with

Armstrong Chemcon, a Delaware Corporation; or (3) that Armstrong Chemcon changed

its name to Armstrong Containers in 1975. (Id. at 2). However, Armstrong asserted that




                                                  2

        Case 2:07-cv-00303-LA Filed 11/02/18 Page 2 of 12 Document 1078
this Armstrong Containers is not the same entity as the Armstrong Containers, Inc. that

is a defendant in the present case. Armstrong set forth certain new facts, as follows.

                       In 1983, Armstrong Chemcon 1 changed its name from
                 Armstrong Containers, Inc. to Armstrong Leasing, Inc.
                       On March 18, 1986, Armstrong Industries, Inc. was
                 formed. In 1993, Armstrong Industries adopted the name
                 Armstrong Containers, Inc., a Delaware corporation—the
                 defendant in this litigation.
                       In sum, defendant Armstrong was not in existence until
                 1986 and was not called “Armstrong Containers, Inc.” until
                 1993.

Id. at 2-3, (internal citations omitted).

       Plaintiffs then contracted with a private investigator to investigate defendant

Armstrong’s corporate history. (No. 07-CV-0303, ECF No. 1034 at 2). The investigators

reviewed proceedings in related cases and located an affidavit that Robert P. Alpert,

counsel for Armstrong Containers in the present litigation and author of the brief-in-

opposition to the motion now at issue, had authored in the course of representing

Armstrong in another Wisconsin lead paint personal injury case. The affidavit chronicles

the corporate history of Armstrong and shows that the Armstrong Containers that

changed its name to Armstrong Leasing in 1983 is perhaps not so entirely unrelated from

the defendant Armstrong Containers in the present litigation as the brief-in-opposition

might seem to suggest. Specifically, the Alpert affidavit details this series of corporate

transactions:

                 15.     On June 30, 1971, MacGregor changed its name to
                         LMC, Inc.

                 16.     On December 15, 1971, LMC, Inc. merged into its
                         parent corporation, Armstrong Chemcon, a Delaware
                         corporation.


       1   I.e., the entity into which LMC (formerly known as MacGregor Lead) had merged.

                                                        3

           Case 2:07-cv-00303-LA Filed 11/02/18 Page 3 of 12 Document 1078
                 17.    Armstrong Chemcon later changed its name to
                        Armstrong Containers, Inc., a Delaware corporation,
                        on or about December 31, 1974.

                 18.    On June 16, 1983, Armstrong Containers, Inc., a
                        Delaware corporation, entered into an Assets
                        Purchase Agreement with Newarmco, Inc., an Illinois
                        corporation (“Newarmco”). 2 The Assets Purchase
                        Agreement provides, among other things, that
                        Newarmco acquired certain of Armstrong Containers,
                        Inc.’s assets and liabilities.

                 19.    On June 28, 1983, Newarmco changed its name to
                        Armstrong Containers, Inc., an Illinois corporation.

                 20.    On March 18, 1986, Armstrong Industries, Inc., a
                        Delaware corporation (“Industries”) was formed.

                 21.    In 1986, Industries acquired Armstrong Containers,
                        Inc., an Illinois corporation, through a series of
                        transactions.

                 22.    In 1993, Armstrong Containers, Inc., an Illinois
                        corporation, was merged into Industries. The surviving
                        entity was re-named Armstrong Containers, Inc., a
                        Delaware corporation. It is this Armstrong Containers,
                        Inc., that is a Defendant in this action.

No. 07-CV-0303, ECF No. 1035-2 at ¶¶ 15-22 (internal citations omitted).


        Plaintiffs noted in their reply brief that, whereas Armstrong’s response to plaintiffs’

motion had characterized the 1993 transaction as a name change, the Alpert affidavit

identifies it as a merger between Armstrong Containers, Inc. (an Illinois Corporation) and

Armstrong Industries, Inc. (a Delaware Corporation) that resulted in a company named

Armstrong Containers, Inc., a Delaware Corporation and the defendant in the Wisconsin

lead paint cases. This characterization is supported by the Certificate of Merger


        2 According to an exhibit submitted by Armstrong Containers in its response to Plaintiffs’ motion,
the amendment of the certificate of incorporation changing Armstrong Containers, Inc., to Armstrong
Leasing, Inc., was then filed the next day, on June 17,1983. No. 07-CV-0303, ECF No. 835-3.

                                                        4

            Case 2:07-cv-00303-LA Filed 11/02/18 Page 4 of 12 Document 1078
associated with the transaction, which plaintiffs filed as an exhibit to their reply brief.

Further, plaintiffs noted that the merger agreement contained no language providing for

liabilities; therefore, they argued, the surviving corporation (i.e., the defendant Armstrong

Containers) is answerable for the liabilities of the Illinois corporation that merged into it.

         Because plaintiffs’ reply brief relied on new materials and made new arguments, I

permitted Armstrong to file a sur-reply. Armstrong did not contest plaintiffs’

characterization of the 1993 merger. Instead, Armstrong focused on the June 16, 1983

Assets Purchase Agreement in which Newarmco, an Illinois corporation, acquired certain

assets and liabilities of Armstrong Containers, the Delaware Corporation into which

MacGregor Lead (a.k.a. LMC) had merged in 1971. Armstrong argued that the language

of the Asset Purchase Agreement is such that Newarmco did not assume any of the

liabilities at issue in this case---meaning that it could not have passed any liabilities on to

the defendant through the 1993 merger.

        Finally, to ensure complete briefing, I permitted plaintiffs to file a sur-sur-reply

presenting their analysis of the Newarmco Asset Purchase Agreement. They did so,

arguing that the Agreement did effectuate a transfer to Newarmco of the relevant

liabilities.

        The upshot of this briefing history is that resolution of plaintiffs’ motion for partial

summary judgment will hinge on the proper interpretation of the 1983 Newarmco asset

purchase       agreement.   Armstrong    has    had    opportunities   to   contest   plaintiffs’

characterization of both the 1971 merger and the 1993 merger and has declined to take

them, effectively waiving those arguments. Arendt v. Vetta Sports, Inc., 99 F.3d 231, 237

(7th Cir. 1996).



                                                   5

          Case 2:07-cv-00303-LA Filed 11/02/18 Page 5 of 12 Document 1078
       The parties agree that the language pertinent to the transfer of liabilities between

the first Armstrong Containers and Newarmco is contained in Paragraph 8 of the Assets

Purchase Agreement. It reads, in relevant part, as follows.

                 8. As of the Closing New Corporation 3 agrees to assume, discharge and
                 pay in accordance with their respective terms and obligations and to be
                 responsible for the liabilities and obligations of Sellers as of the Closing
                 Date set forth below . . . :

                         …

                        (i) Obligations with respect to litigation and claims against Sellers
                 other than litigation and claims involving or arising out of liabilities and
                 obligations expressly not assumed by New Corporation pursuant to
                 Paragraph 9 of this agreement.

                        (j) Except for the obligations and liabilities referred to in paragraph 9
                 below, and with the exceptions referred to in this paragraph 8 and
                 paragraph 23 below, New Corporation shall assume all other obligations of
                 sellers, whether accrued, contingent or future, based on, related to or
                 arising out of events or occurrences prior to the closing, whether known or
                 unknown and regardless of when arising or asserted.


                                       II.    LEGAL ANALYSIS

       Summary judgment is required where “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). When considering a motion for summary judgment, I view the evidence in the

light most favorable to the non-moving party and must grant the motion if no reasonable

juror could find for that party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 255

(1986).

       To resolve the issue now before me, I must interpret the 1983 Assets Purchase

Agreement and determine whether it effectuated a transfer of the sort of liability at issue

in this case (i.e., liability for a tort claim for which the alleged culpable conduct occurred

       3   I.e., Newarmco.

                                                    6

           Case 2:07-cv-00303-LA Filed 11/02/18 Page 6 of 12 Document 1078
before the execution of the Agreement, but for which the actual injury arose several

years after the execution of the Agreement). As a federal court sitting in diversity, I apply

state substantive law and federal procedural law. Camp v. TNT Logistics Corp, 553 F.3d

502, 505 (7th Cir. 2009). Because none of the parties have raised the choice of law

issue, I will apply the substantive law of Wisconsin, the forum state. Id. Therefore, I begin

my analysis with a survey of the relevant principles of contract interpretation under

Wisconsin law.

       My goal in interpreting a contract is to give effect to the parties’ intentions. Ash

Park LLC v. Alexander and Bishop Ltd., 363 Wis. 2d 699, 712 (2015). I am to “presume

the parties’ intent is evidenced by the words they choose, if those words are

unambiguous.” Id. “When the terms of a contract are ambiguous, however, evidence

extrinsic to the contract itself may be used to determine the parties’ intent.” Id. at 713.

Specifically, when interpreting an ambiguous contract provision, I “must reject a

construction that renders an unfair or unreasonable result.” Gottsacker v. Monier, 281

Wis.2d 361, 375 (2005) (internal citations omitted). Likewise, I “should adopt a

construction that will render the contract a rational business instrument so far as

reasonably practicable.” Id. A contract provision is ambiguous if it is fairly susceptible of

more than one interpretation. Ash Park, 363 Wis. 2d at 713.

       Furthermore, I am to construe contract language according to its plain or ordinary

meaning. Id. If a contract term is undefined, the contract should be considered as a

whole. MS Real Estate Holdings, LLC v. Donald P. Fox Family Trust, 362 Wis. 2d 258

(2015). “Interpretations that give reasonable meaning to each provision in the contract




                                                 7

        Case 2:07-cv-00303-LA Filed 11/02/18 Page 7 of 12 Document 1078
are preferred over interpretations that render a portion of the contract superfluous.” Ash

Park, 363 Wis. 2d at 713.

       Under Subparagraph 8(i) of the Assets Purchase Agreement, Newarmco

assumes “obligations with respect to litigation and claims against sellers.” The word

“obligations” is not defined in the contract, and its meaning and scope in the context of ¶

8(i) is not self-evident. The word might be read broadly such that liability for unknown

and contingent personal injury claims falls under its umbrella; it might also be read

narrowly as denoting a category of obligation distinct from legal liability (a reading

supported to some extent by the recurrence of the phrase “liabilities and obligations”

throughout Paragraph 8, which suggests that the words have different meanings but

offers no final clarity as to the meaning of “obligations”). Because the word “obligations”

is undefined, I will attempt to discern its meaning by considering the contract as a whole.

       Paragraph 8 is structured as a broad transfer of “liabilities and obligations,”

subject to certain exclusions. The initial, “umbrella” paragraph announces Newarmco’s

intent “to assume . . . and be responsible for the liabilities and obligations of Sellers as of

the Closing Date set forth below.” Subparagraphs (a)-(i) then “set forth” various

categories of obligations and liabilities that Newarmco agrees to assume, subject to

certain precisely delineated exceptions. 4 Holding to this pattern, subparagraph 8(i)


       4   For example:

                          (b) Sellers’ obligations regarding employee compensation (other than
                 obligations with respect to or arising out of the Armstrong Containers, Inc.
                 Employees Retirement Income Plan and related Trust claims of employees for
                 workers compensation benefits resulting from accidents or occurrences prior to
                 the Closing and employees claims under Sellers’ group medical plan for
                 employees made in writing within 60 days following the closing with respect to
                 events and occurrences prior to the closing claims under Sellers’ group medical
                 plan by employers receiving benefits under the Armstrong Containers, Inc.
                 Employers Retirement Income Plan as of the Closing Date), whether accrued,

                                                       8

           Case 2:07-cv-00303-LA Filed 11/02/18 Page 8 of 12 Document 1078
announces Newarmco’s assumption of “obligations with respect to litigation and claims

against Sellers other than litigation and claims involving or arising out of liabilities and

obligations expressly not assumed by New Corporation pursuant to Paragraph 9 of this

agreement.” (Paragraph 9 is a failsafe provision that prevents Newarmco from assuming

liabilities or obligations in a manner that might disrupt insurance coverage; it is not

relevant here.) Finally, ¶ 8(j) is a catchall that again states Newarmco’s intention to

“assume all other obligations of Sellers, whether accrued, contingent or future, based on,

related to or arising out of events or occurrences prior to the closing, whether known or

unknown and regardless of when arising or asserted,” subject only to narrow exclusions

clearly delineated elsewhere in ¶ 8 or at other points in the contract. Because ¶ 8 clearly

indicates that the parties intent is a broad, inclusive transfer of liabilities and obligations, I

conclude that the term “obligations” in ¶ 8(i) is to be construed broadly. Cf. Columbia

Propane L.P. v. Wisconsin Gas Co., 261 Wis.2d 70, 88-89 (2003) (asset transfer

agreement was broadly structured to exclude liabilities and allow assumption of only

certain narrowly defined liabilities, so that narrow construction of the transferred liabilities

was appropriate).


              contingent or arising as a result of this Agreement, including but not limited to,
              salaries, wages, sick leave, holiday pay, pension obligations with respect to the
              multiemployer plans referred to in Paragraph 25(b), below, overtime pay, vacation
              pay, disability, and unemployment, including state, federal and local taxes based
              thereon;
                       (c) Excluding the exceptions referred to in Paragraph 8(b), all liability
              for sellers’ obligations, whether accrued, contingent or future, known or unknown
              and regardless of when arising or asserted, to any employee of Sellers with
              respect to litigation or claims before any court . . . ;
                       …
                       (e) Sellers’ obligations for other accrued liabilities, excluding obligations
              for contributions to the Armstrong Containers, Inc. Employees Retirement Income
              Plan, as recorded on Sellers respective financial statements;
                       (f) Sellers’ obligations for accrued taxes other than state and federal
              income and franchise taxes . . . .

       (Emphasis supplied).

                                                        9

        Case 2:07-cv-00303-LA Filed 11/02/18 Page 9 of 12 Document 1078
       The overall document is less helpful when it comes to distinguishing the meaning

of “obligations” from the meaning of “liabilities.” Subparagraph 8(c) includes the language

“all liability for Sellers’ obligations . . . to any employee of sellers with respect to

litigation or claims….” Subparagraph 8(e) refers to “sellers’ obligations for other accrued

liabilities, excluding obligations for contributions to [a retirement plan].” So: obligations

can give rise to liabilities, but liabilities can also give rise to obligations.

       Then, ¶ 8(i) announces that Newarmco will assume “obligations with respect to

litigation and claims against sellers other than litigation and claims involving or arising

out of liabilities and obligations” excluded under ¶ 9. So: obligations can arise from

litigation and claims, but litigation and claims can also involve or arise from both liabilities

and obligations.

       Finally, ¶ 8(j) states that “except for the obligations and liabilities referred to in

Paragraph 9 below, New Corporation shall assume all other obligations of Sellers…”

This sentence suggests that, when used broadly, “obligations” is a general category that

can include both more narrowly-defined obligations and more narrowly-defined liabilities.

       All of this means that I am unwilling to accept Armstrong’s argument that the

parties use of the term “obligations” in ¶ 8(i) reveals an intent to exclude liabilities for

legal claims against the sellers from the transaction. Instead, the meaning of the term

“obligations” as used in the contract is ambiguous, meaning that it is capable of more

than one reasonable interpretation. It could be a broad category inclusive of liabilities for

legal claims; it could be a more narrow category of obligations that may be related to or

coexist with legal claims, but that are not the same thing.




                                                    10

        Case 2:07-cv-00303-LA Filed 11/02/18 Page 10 of 12 Document 1078
       Because the term “obligations” remains ambiguous, I will apply the principle that I

“should adopt a construction that will render the contract a rational business instrument

so far as reasonably practicable.” Gottsacker v. Monier, 281 Wis.2d at 375. Armstrong

argues that, by using only the term “obligations” in ¶ 8(i), Newarmco only assumed

litigation “obligations” such as defense costs and expenses, and did not assume

responsibility for any resulting “liabilities” such as judgments. Such a contract would not

be a “rational business instrument.” I find it incredible that a reasonable business would

contract to pay to defend against claims for which it would not, itself, bear ultimate

responsibility. The reasonable interpretation of ¶ 8(i) is that Newarmco agreed to bear

responsibility both for the costs of defending claims against the sellers, and for any

“obligations” (i.e., judgments) that might arise from those claims.

       Thus, I conclude that the defendant Armstrong Containers, Inc. is successor-in-

interest to MagGregor Lead. I will grant plaintiffs’ motions for summary judgment.

                                       III.   SANCTIONS

       Plaintiffs have asked that I consider using my Rule 11(c)(3) authority to sanction

Armstrong for its response brief, which argued that the Armstrong Containers, Inc. into

which MacGregor Lead merged in 1971 was a different entity from the defendant

Armstrong Containers, but did not acknowledge what it knew of the series of transactions

linking those two organizations. I agree with plaintiffs that greater transparency by

Armstrong would have yielded a more efficient (and, for plaintiffs, inexpensive) resolution

of the issue on its merits. However, Armstrong’s approach to the response brief was not

inappropriate given the limited arguments presented by plaintiffs in their opening brief.

Armstrong’s task was only to demonstrate that Plaintiffs had not, at that stage, adduced



                                                11

       Case 2:07-cv-00303-LA Filed 11/02/18 Page 11 of 12 Document 1078
evidence sufficient to establish its successorship as a matter of law. I will not initiate Rule

11(c)(3) sanctions against Armstrong on these grounds.

       IT IS ORDERED that plaintiffs motions for summary judgment on this issue of

Armstrong being successor-in-interest to the MacGregor Lead Company (No. 07-C-

0303, # 629; No. 07-C-0441, # 562; No. 10-C-0075, # 503 ) are GRANTED.

       Dated in Milwaukee, Wisconsin, this 2nd day of November, 2018.



                                                  s/Lynn Adelman______________
                                                  LYNN ADELMAN
                                                  United States District Judge




                                                 12

       Case 2:07-cv-00303-LA Filed 11/02/18 Page 12 of 12 Document 1078
